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Attorney for Defendant



                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                                  No. 03:18-cr-000262-JO

                                   Plaintiff,
                                                    DECLARATION OF COUNSEL IN
                       v.                           SUPPORT   OF   DEFENDANT=S
                                                    UNOPPOSED SECOND MOTION
TILER PRIBBERNOW,                                   TO CONTINUE TRIAL

                                Defendant.


         I, Amy Baggio, declare under penalty of perjury, that the following statements are true

to the best of my knowledge, information and belief:

         1.       I represent the defendant, Tiler Pribbernow, as court-appointed counsel

pursuant to the Criminal Justice Act (CJA). This declaration is in support of Mr. Pribbernow’s

request to continue the current trial date of November 6, 2018, for 90 days, or until February

5, 2019.




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        2.       On June 5, 2018, a federal grand jury charged Mr. Pribbernow with one count

of possession of a firearm by a felon. (CR-1).

        3.       On June 6, 2018, the Court entered an Order appointing me to represent Mr.

Pribbernow and set an initial trial date of August 7, 2018. (CR-8.)

        4.        On July 13, 2018, the government filed an indictment against Mr. Pribbernow

in a related case, 18-cr-000319-JO, in which Mr. Pribbernow and two co-defendants are

charged with three offenses: Murder in Aid of Racketeering; Kidnapping in Aid of

Racketeering, Resulting in Death; Kidnapping Resulting in Death; and Conspiracy to Commit

Kidnapping, Resulting in Death. The trial in this second case is currently set for December 12,

2018.

        5.       The two cases in which Mr. Pribbernow has been charged (18-cr-00262-JO and

18-cr-00319-JO) are related. Accordingly, due to the overlap in the two cases, the seriousness

of the charges, the expected high volume of discovery, and complexity of the underlying

events, I believe that a second continuance of the current trial date for 90 days is reasonable

in order to provide a sufficient time period in which I can continue review of discovery,

research potential motions, consult with Mr. Pribbernow, and work with other members of

my defense team in order to properly defend the defendant.

        6.       Mr. Pribbernow is in the custody of the U.S. Marshal’s Service. (CR-9.)

        7.       I have conferred with AUSA Leah Bolstad. The government has no objection

to this request to continue the current trial date.




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       8.       I have consulted with my client, Tiler Pribbernow. Mr. Pribbernow agrees with

this request for continuance, understands the rights provided by the Speedy Trial Act, and

waives those rights in light of the reasons for the requested continuance.

       10.      This declaration is made in good faith and in support of the Defendant’s

Unopposed First Motion To Continue Trial Date.

       11.      I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

       DATED this 23rd day of October, 2018.


                                             /s/ Amy Baggio
                                            Amy Baggio, OSB #011920
                                            503-222-9830
                                            Attorney for Defendant Pribbernow




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